      Case: 20-30526   Document: 00515546441 Page: 1 Date Filed: 08/26/2020
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                     United States Court of Appeals
                                                      FIFTH CIRCUIT
                                                   OFFICE OF THE CLERK
  ġ                     ġ                                                 ġ
  LYLE W. CAYCE         ġ                                                         TEL. 504-310-7700
  CLERK                 ġ                                                      600 S. MAESTRI PLACE,
                        ġġġġġġġġġġġġġġġġġġġġġġġġ                                       Suite 115
                                                                              NEW ORLEANS, LA 70130

                                            August 26, 2020
 MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
        No. 20-30526        4 Aces Enterprises, L.L.C., et al v. John
                            Edwards, et al
                            USDC No. 2:20-CV-2150
                            USDC No. 6:20-CV-965

 The court has granted the motion to consolidate cases 20-30526 and
 20-30537. We ask you to use the case number above and the update
 caption below in future inquires.



                                                       Sincerely,
                                                       LYLE W. CAYCE, Clerk


                                                       By: _________________________
                                                       Majella A. Sutton, Deputy Clerk
                                                       504-310-7680
 Mr.   Matthew F. Block
 Mr.   Christopher T. Chocheles
 Mr.   Jimmy Roy Faircloth Jr.
 Mr.   Joshua Simon Force
 Mr.   James M. Garner
 Ms.   Carol L. Michel
 Mr.   Tony R. Moore
 Mr.   Richard Frederick Norem III
 Ms.   Mary Katherine Price
 Mr.   Jack M. Weiss


                                  Case No. 20-30526

 Big Tyme Investments, L.L.C., doing business as Big Daddy's Pub
 & Grub; CD Enterprises of Houma, L.L.C., doing business as
 Larussa's Lounge; JOM, L.L.C., doing business as Just One More;
 LongShotz 1, L.L.C., doing business as Longshotz; Paradise
 Sports Bar & Daiquiris, L.L.C., doing business as Epic Lounge;
 R&J Lapeyrouse, L.L.C., doing business as Jeaux's New Horizon;
      Case: 20-30526   Document: 00515546441 Page: 2 Date Filed: 08/26/2020
Case 6:20-cv-00965-RRS-PJH Document 52 Filed 08/31/20 Page 2 of 2 PageID #: 1762



 R. Heasley, L.L.C., doing business as Ram Rod's Saloon; Tap Dat,
 L.L.C., doing business as The Brass Monkey; The Music Cove,
 L.L.C.; The Outer Limits Bar, L.L.C.,

                          Plaintiffs - Appellants

 v.

 John Bel Edwards, In his official capacity as Governor of the
 State of Louisiana; H. Browning, Jr., In his official capacity
 as Fire Marshal of the State of Louisiana, also known as Butch
 Browning,

                          Defendants - Appellees

 consolidated with
 _____________

 20-30537
 _____________

 910 E Main, L.L.C., doing business as Quarter Tavern; Doug
 McCarthy Enterprises, Incorporated, doing business as 501; My
 Place Bar & Grill, L.L.C.; Pool Dos Sports Bar, L.L.P.; SoCo
 Sports Bar, L.L.C.; Sandi's Anchor Lounge, L.L.C., doing
 business as Da Camp; Tipsy Cajun, L.L.C.; Wanous, L.L.C., doing
 business as AJ's 2nd St. Pub; C K B C P B 5, L.L.C., doing
 business as Chatter Box; Big Dan's Bar, Incorporated; City Bar,
 Incorporated,

                          Plaintiffs - Appellants

 v.

 John Bel Edwards, In his official capacity as Governor of the
 State of Louisiana; H. Browning, Jr., In his official capacity
 as Fire Marshal of the State of Louisiana, also known as Butch
 Browning,

                          Defendants - Appellees
